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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JOHN JUARWEL                                         )
                                                     )
                              Plaintiff,             )
                                                     )       Case No.
        v.                                           )
                                                     )
DIJ CORP.                                            )
                                                     )
                              Defendant.             )


                                           COMPLAINT

        The Plaintiff, John Juarwel, by his attorneys, Arena Law Office, LLC, complaining of the

Defendant, DIS Corp., stating as follows:



                                     STATEMENT OF FACTS

        1.     The Plaintiff is an individual residing in Harrisburg, Pennsylvania.

        2.     The Plaintiff is licensed as a commercial truck driver.

        3.     The Defendant is an Illinois corporation with its principal place of business in

Romeoville, Will County, Illinois.

        4.     The Defendant is in the business of providing commercial over the road

transportation and warehousing services.

        5.     The Plaintiff contracted with the Defendant as an independent contractor to

provide commercial truck driving services from October 2021 to January 24, 2022. (A copy of

the contract is in Defendant’s exclusive possession as Defendant did not provide a copy to

Plaintiff).
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       6.      During the contract period with the Defendant, the Plaintiff’s average

compensation was $5,000.00 per week.

       7.      As a condition of the contract with the Defendant, the Plaintiff was required to

submit to a drug test on September 24, 2021. Defendant provided Plaintiff with a written “Test

Notification” in conjunction with the drug test, and the test results were negative.

       8.      On December 7, 2021, Defendant provided the Plaintiff with a second “Test

Notification” requiring the Plaintiff to submit to a drug test. Again, the test results were negative.

       9.      On January 18, 2022, Plaintiff receive a text message from the Defendant stating

that he needed to submit to a third drug test. However, the Defendant did not provide the

Plaintiff with a “Test Notification.”

       10.     On January 18, 2022, Plaintiff responded to the Defendant’s text message

requesting the location for the drug test.

       11.     On January 18, 2022, Defendant responded via text that the Plaintiff could have

the test taken at Defendant’s place of business at 1300 Lakeview Dr., Romeoville, Illinois.

       12.     On January 18, 2022, Plaintiff was in Seattle, Washington as part of his

employment with the Defendant.

       13.     On January 18, 2022, Plaintiff responded to the Defendant’s text message stating

that it would take him 3 days to arrive at the Defendants place of business in Romeoville, Illinois

and that he would arrive on Monday, January 24, 2022.

       14.     On January 18, 2022, Defendant responded via text stating “Ok sounds good, we

can just do it when you’re here then. Thank you”.




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       15.      On January 24, 2022, Plaintiff arrived in Romeoville, Illinois. At that time, he

was confronted by Defendant’s employees and/or agents, and was told to return DIJ Corp.

information and equipment and terminated his contract.

       16.      Defendant did not give Plaintiff an opportunity to submit to a drug test on January

24, 2022, or anytime thereafter.

       17.      Subsequent to January 24, 2022, Defendant published a document titled

“Xchange Report #34397356. (hereinafter referenced as “Xchange Report.”) to prospective

employers of the Plaintiff in the commercial transportation industry.

       18.      Plaintiff became aware of the Xchange report on May 19, 2022, when a

prospective employer, MBG Logistics, email a copy of the Xchange report to the Plaintiff as a

basis for denying Plaintiff employment. (A copy of the Xchange Report is attached hereto as

“Exhibit A”).

       19.      The Xchange Report stated the reason for Plaintiff’s termination was “The driver

refused drug test when he was home in New York. This individual had an inappropriate verbal

altercation with the safety manager.”

       20.      The Xchange Report contained false information in that Plaintiff at no point

refused to submit to a drug test, the Plaintiff resides in Pennsylvania and at the time Plaintiff was

requested to submit to the drug test by Defendant, Plaintiff was in Seattle Washington providing

transportation services on behalf of the Defendant.

       21.      Defendant published the Xchange report to Plaintiff’s prospective employers

knowing that the Xchange Report contained false information.




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          22.    As a result of Defendant publishing the Xchange report to Plaintiff’s prospective

employers, Plaintiff has been unable to gain employment as a commercial truck drive from

January 24, 2022 through December 31, 2022.

                                   STATEMENT OF JURISDICTION

          23.    Diversity Jurisdiction exists in this matter pursuant to 28 USC § 1332 because the

amount in controversy is in excess of $75,000, and the Plaintiff and Defendant reside in different

states.

                                          COUNT I
                                     DEFAMATION PER SE

          24.    Plaintiff incorporates herein by reference paragraphs 1 through 23 of this

complaint as paragraph 24 of this Count I as if fully set forth herein.

          25.    The false statements published by the Defendant in the Xchange Report impute

Plaintiff’s inability to perform or want of integrity in the discharge of duties of office or

employment, and prejudice Plaintiff, or impute lack of ability, in his or her trade, profession or

business.

          26.    As a result of Defendant publishing the false statements in the Xchange Report to

Plaintiff’s prospective employers, Plaintiff has been damaged in his reputation and has been

unable to gain employment as a commercial truck driver from January 24, 2022 to December 31,

2022.

          WHEREFORE, the Plaintiff, John Juarwel, requests this Court enter judgment in his

favor and against the Defendant in an amount to be proven at Trial, plus award him his costs

incurred in bringing this action and any further relief this Court deems just.




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                                       COUNT II
                                  DEFAMATION PER QUOD

                               (Plead as an Alternative to Count I)

       24.      Plaintiff incorporates herein by reference paragraphs 1 through 23 of this

   complaint as paragraph 24 of this Count II as if fully set forth herein.

       25.      As a result of Defendant publishing the false statements in the Xchange Report to

   Plaintiff’s prospective employers, Plaintiff has been damaged in his reputation and has been

   unable to gain employment as a commercial truck driver since January 24, 2022.

       26.      As a result of Defendant publishing the false statements in the Xchange Report to

   Plaintiff’s prospective employers, Plaintiff has suffered pecuniary losses in the amount of

   $5,000.00 per week since January 24, 2022.

       27.      As of January 21, 2023, Plaintiff has suffered pecuniary losses in the amount of

$242,500.00.

   WHEREFORE, the Plaintiff, John Juarwel, requests this Court enter judgment in his favor

and against the Defendant in an amount to be proven at Trial, plus award him his costs incurred

in bringing this action and any further relief this Court deems just.

                                          COUNT III
                                     BREACH OF CONTRACT

       28.     Plaintiff incorporates herein by reference paragraphs 1 through 5 and 23 of this

complaint as paragraph 28 of this Count III as if fully set forth herein.

       29.     During this time period, Plaintiff leased a truck and trailer from the Defendant,

and provided the Defendant with a $1,500.00 deposit for use of this equipment.




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       30.     Pursuant to the terms of the contract, Defendant was obligated to return to the

Plaintiff the $1,500.00 deposit Plaintiff provided to the Defendant upon termination of the

contract and the return of Defendant’s information and equipment.

       31.     On January 24, 2022, Defendant terminated the contract with the Plaintiff and

Plaintiff returned Defendant’s information and equipment to Defendant.

       32.     Plaintiff has requested the Defendant to return the $1,500.00 deposit.

       33.     Defendant has failed to return the $1,500.00 deposit to the Plaintiff.

       WHEREFORE, the Plaintiff, John Juarwel, requests this Court enter judgment in his

favor and against the Defendant in the amount of $1,500.00, plus award him his costs incurred in

bringing this action and any further relief this Court deems just.



                                                              Respectfully Submitted,

                                                              /s/ David T. Arena
                                                              Counsel for the Plaintiff

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                           EXHIBIT A




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                                           Xchange Report #34397356
Request Status: Submitted
Request / Response Report                      Response Tracking ID: (None)           Request #: 34397356
DIJ Corp
Provided By:          Joe Holtz
Title:                (N/A)
Address:              1300 Lakeview Drive
City / State / Zip:   Romeoville, IL 60446
Email:                accounting@dijcorp.com
Phone:                708-888-9811
Fax:
Items Requested: EMP DA ACC
Provided Subject Information
John Juarwel                                             Date Range Provided: 10-2021 to 01-2022
SSN: xxx-xx-8490
DOB: 05-14-1976

Original Request Information                           Provided Information
Position Held                     Leaser                Position Held               OTR Driver
Reason For Leaving                I went to vacation    Reason For Leaving          TERMINATED
Driver Class                                            Driver Class                Company
Driver Type                                             Driver Type                 Solo
Was the driver Terminated?                              Was the driver              Yes
                                                        Terminated?
Was the driver subject to         Yes
FMCSRs while employed?                                  Termination Reason:
                                                        The driver refused a scheduled drug test when he
Was the driver's job
                                                        was home in New York. This individual had an
designated as a safety
                                                        inappropriate verbal altercation with the safety
sensitive function in DOT
                                                        manager.
regulated mode subject to
Drug and Alcohol testing per                            Eligible for Rehire?        Review
49 CFR Part 40?
                                                        Was the driver subject to Yes
Areas Driven                                            FMCSRs while employed?
Equipment Driven                                        Was the driver's job        Yes
                                                        designated as a safety
Trailer Driven
                                                        sensitive function in DOT
Loads Hauled                                            regulated mode subject to
                                                        Drug and Alcohol testing
                                                        per 49 CFR Part 40?
                                                        Full Time / Part Time       Full Time
                                                        Areas Driven                OTR


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                                         Xchange Report #34397356

                                                         Equipment Driven           Tractor-Trailer
                                                         Trailer Driven             Van
                                                         Loads Hauled               200
                                                         Miles per week             3000
                                                         Number of States Driven    48
                                                         Trailer Length             53
Drug and Alcohol Information
Did the employee have alcohol tests with a result of 0.04 or higher?                                  No
Did the employee have verified positive drug tests?                                                   No
Did the employee refuse to be tested?                                                                 No
Did the employee have other violations of DOT agency drug and alcohol testing regulations?            No
Did a previous employer report a drug and alcohol rule violation to you?                              No
If you answered "yes" to any of the above items, did the employee complete the return-to-duty
process?
Comments

Accidents
  No Accidents
Activity Log
04-13-2022 11:41 AM - Joe Holtz (DIJ)

  Request was set "Submitted", authorized, and automatically fulfilled.
04-13-2022 10:52 AM - Ilija (Leo) Karanovic

  Request sent under order #15242182 via Network method.



                                Tenstreet, 120 W. 3rd Street Tulsa, OK 74103.
       Drivers: for questions about this report, contact the Tenstreet Consumer Service Department at
                       877-219-9283, Option 1, then 1 or email: drivers@tenstreet.com




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